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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF MISSOURI
------------------------------------------------------x
MALCOLM JOHNSON,                                      :
an individual,                                        :  CIVIL ACTION
                                                      :
                  Plaintiff,                          : CASE NO.:
                                                      :
vs.                                                   : Judge:
                                                      :
                                                      : Magistrate:
                                                      :
OCB RESTAURANT COMPANY, LLC :
                                                      :
                                                      :
                  Defendant.                          :
------------------------------------------------------x

                                           COMPLAINT


        Plaintiff, MALCOLM JOHNSON, by and through his undersigned counsel, hereby files

this original Complaint against OCB RESTAURANT COMPANY, LLC (hereinafter referred to

as “DEFENDANT”), and demands declaratory and injunctive relief and attorneys’ fees, and costs

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq., and alleges:

                                JURISDICTION AND PARTIES

1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

        Americans With Disabilities Act, 42 U.S.C. § 12181 et seq. (hereinafter referred to as the

        “ADA”). This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§ 1331

        and 1343.

2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).

3.      Plaintiff, MALCOLM JOHNSON, (hereinafter referred to as “MR. JOHNSON”), is a

        resident of St. Louis County, Missouri. MR. JOHNSON resides approximately seven (7)

        miles away from the facility which is the subject of this action.

4.      MR. JOHNSON is a qualified individual with a disability under the ADA. MR. JOHNSON

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         suffers from chronic obstructive pulmonary disease (COPD) which makes walking

         distances more than a few feet difficult or impossible for MR. JOHNSON without a

         mobility device. When MR. JOHNSON has to walk more than a few feet, he suffers

         difficulty breathing.

5.       MR. JOHNSON also suffers from arthritis in both knees and Osteoarthritis in his left knee,

         which makes walking more than a few feet extremely painful for MR. JOHNSON.

6.       Due to his disability, MR. JOHNSON is substantially impaired in several major life

         activities and requires an electric scooter, a wheelchair, or a walker for mobility.

7.       Upon information and belief, DEFENDANT is a limited liability company organized in

         the State of Missouri and doing business in St. Louis County.

8.       Upon information and belief, DEFENDANT can be contacted at its registered agent located

         at:

                        c/o Capitol Corporate Services, Inc.
                        222 E. Dunklin, Suite 102
                        Jefferson City, MO 65101

9.       Upon information and belief, DEFENDANT is the operator of the real properties and

         improvements that are the subject of this action, to wit: Hometown Buffet, 12228 St.

         Charles Rock Road, Bridgeton, Missouri, 63044. (hereinafter referred to as “the Property”).

10.      The Property is a restaurant.

11.      DEFENDANT is obligated to comply with the ADA.




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                        COUNT I - VIOLATION OF TITLE III OF THE
                           AMERICANS WITH DISABILITIES ACT

12.      MR. JOHNSON realleges and reavers Paragraphs 1 - 11 as if they were expressly restated

         herein.

13.      The Property is a place of public accommodation, subject to the ADA, generally located

         at: 12228 St. Charles Rock Road, Bridgeton, Missouri, 63044.

14.      Upon information and belief, MR. JOHNSON last visited the Property during the month

         of September in 2017. MR. JOHNSON desires to visit the Property again in the near future,

         but is presently deterred due to the non-compliant barriers. MR. JOHNSON lives

         approximately seven (7) miles away from the Property.

15.      Upon information and belief, MR. JOHNSON desires to visit the Property multiple times

         each year to patronize the Hometown Buffet restaurant.

16.      Upon information and belief, MR. JOHNSON has visited the Property numerous times in

         the past prior to September of 2017.

17.      The discrimination alleged herein is ongoing.

18.      At various times, MR. JOHNSON has personally observed or encountered all of the

         barriers which are the subject of this action.

19.      Due to the accessibility barriers discussed below, MR. JOHNSON knows that he will have

         difficulty patronizing the restaurant at issue due to the inaccessibility of the restrooms.

20.      During his visits to the Property, MR. JOHNSON has experienced serious difficulty

         accessing the goods and utilizing the services offered at the Property due to the

         architectural barriers as discussed in Paragraph 25.

21.      MR. JOHNSON continues to desire to visit the Property and patronize the restaurant, but

         fears that he will continue to experience serious difficulty due to the barriers discussed in

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         Paragraph 25.

22.      The barriers discussed below in Paragraph 25 are excluding MR. JOHNSON from the

         programs and activities offered at the Property.

23.      MR. JOHNSON plans to and will visit the Property in the future as a patron and also as an

         ADA tester to determine if the barriers to access alleged herein have been modified.

24.      MR. JOHNSON presently fears that he will encounter the mobility-related barriers which

         exist at the Property when he returns to the Property in the near future.

25.      Upon information and belief, DEFENDANT is in violation of 42 U.S.C. § 12181 et seq.

         and 28 C.F.R. § 36.302 et seq. and the Property is not accessible due to, but not limited to,

         the following barriers which presently exist at the Property:

                I.       UPON INFORMATION AND BELIEF, THE FOLLOWING BARRIERS

         ARE ALLEGED TO BE THE RESPONSIBILITY OF DEFENDANT:

                         A.     The restroom signage for the Men’s Bathroom is improperly

                                installed on the door instead of the wall.

                         B.     There is no grab bar installed on the rear wall of the designated

                                handicap-accessible bathroom stall.

                         C.     Use of one of the existing grab bars on the wall of the designated

                                handicap-accessible bathroom stall is improperly impeded by the

                                positioning of the toilet paper dispenser.

                         D.     The toilet in the designated handicap-accessible bathroom stall is

                                improperly positioned at an excessive distance from the side wall.

                         E.     The width of the floor space in the designated handicap-accessible

                                bathroom stall is insufficient.



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                        F.      The coat hook installed on the back of the designated handicap-

                                accessible bathroom stall door is higher than the maximum

                                permissible reach range.

                        G.      The toilet seat cover dispenser installed on the rear wall of the

                                designated handicap-accessible bathroom stall is higher than the

                                maximum permissible reach range.

                        H.      The bathroom mirror is installed in the bathroom at a height that

                                exceeds the permissible maximum height.

                        I.      Other current mobility-related barriers and violations of the

                                Americans with Disabilities Act to be identified after a complete

                                inspection of the Property.

26.      MR. JOHNSON continues to desire to visit the Property, but will continue to experience

         serious difficulty until the barriers discussed in Paragraph 25 are removed.

27.      MR. JOHNSON intends to and will visit the Property to utilize the goods and services in

         the future, but fears that DEFENDANT will continue to discriminate against him by failing

         to modify the barriers at the Property.

28.      Upon information and belief, all barriers to access and ADA violations still exist and have

         not been remedied or altered in such a way as to effectuate compliance with the provisions

         of the ADA, even though removal is readily achievable.

29.      Upon information and belief, removal of the discriminatory barriers to access located on

         the Property is readily achievable, reasonably feasible, and easily accomplished, and would

         not place an undue burden on DEFENDANT.

30.      Upon information and belief, removal of the barriers to access located on the Property



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         would provide MR. JOHNSON with an equal opportunity to participate in, or benefit from,

         the goods, services, and accommodations which are offered to the general public at the

         Property.

31.      Independent of his intent to return as a patron to the Property, MR. JOHNSON additionally

         intends to return as an ADA tester to determine whether the barriers to access stated herein

         have been remedied.

32.      MR. JOHNSON has retained the undersigned counsel and is entitled to recover

         reasonable attorneys’ fees, costs and litigation expenses from Defendant pursuant to the

         pursuant to 42 U.S.C. § 12205.



         WHEREFORE, MR. JOHNSON demands judgment against DEFENDANT, and requests

the following relief:

         A.     That this Court declare that the Property owned, leased, and/or operated by

                DEFENDANTS is in violation of the ADA;

         B.     That this Court enter an Order directing DEFENDANT to alter the Property to make

                it accessible to and useable by individuals with mobility disabilities to the full

                extent required by Title III of the ADA;

         C.     That this Court award reasonable attorneys’ fees, costs (including expert fees), and

                other expenses of suit, to MR. JOHNSON; and

         D.     That this Court award such other and further relief as it deems necessary, just and

                proper.

                                                       Respectfully Submitted,


                                                       Bizer & DeReus
                                                       Attorneys for Plaintiff

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                                     By:/s/ Garret S. DeReus
                                          Garret S. DeReus




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